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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
yv.

Crim No.: 17-232 (EGS)

MICHAEL T. FLYNN,

Defendant

COVINGTON & BURLING LLP’S NOTICE REGARDING
TRANSFER OF CASE FILE TO DEFENDANT’S NEW COUNSEL

Covington & Burling LLP (“Covington”) submits this Notice to inform the Court that the
firm’s transfer of its case file to General Flynn’s new counsel is now complete.

Undersigned counsel! take very seriously the obligation to protect the interests of a client
in connection with any termination of a representation. Within days of the termination of its
representation of General Flynn, before his new counsel filed appearances in the case, Covington
transferred to new counsel the entirety of the working case file shared by the lawyers engaged on
the matter. This working case file (comprising documents held in a limited access, shared
network drive, along with other documents stored in the firm’s document management system)
included pleadings, interview notes, legal and factual memoranda, documents collected from the
client and received from others, Congressional subpoenas and correspondence, documents
previously produced to Congress, to the Department of Justice, and to counsel for Bijan
Rafiekian, documents produced by the Special Counsel’s Office under the Court’s discovery
Order of February 16, 2018, and many other categories of documents.

Once it had turned over that working case file, Covington turned to the task of collecting,

reviewing, and transferring all remaining documents and communications related in any way to
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the firm’s representation of General Flynn. This task, unlike the handing over of a discrete case
file, entailed identifying and collecting a large body of emails, text messages, handwritten notes,
time records, voicemails, hard-copy documents, and other records identified during the firm’s
collection process. In the course of this process, Covington communicated with new counsel
about the prioritizing and sequencing of categories of documents, and it also responded to new
counsel’s specific document and information requests as they arose. More broadly, the turnover
of the client file was part of a larger process that included Covington’s meeting and speaking
with new counsel to provide extensive briefings on the background and status of the matter. The
firm never, in any way whatsoever, conditioned the transfer of files to General Flynn’s new
counsel on payment of outstanding fees.

Now that transfer of the records has been completed, undersigned counsel are prepared to
furnish the Court (either under seal or on the public docket, in the discretion of the Court) with a
report regarding the circumstances of the file transfer and the steps undertaken to complete that
process, should the Court wish to receive that information in advance of the August 27 status

conference.

July 25, 2019 Respectfully submitted,

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